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                                             EXHIBIT A
                      INTERIM COMPENSATION BY PROJECT CATEGORY
                           Project Category                           Total Hours          Total Fees

  Plan of Reorganization/Disclosure Statement                                  79.8          $82,110.00

  Case Administration                                                          10.2           $7,990.00

  General Correspondence with Debtor & Debtors' Professionals                  68.8          $59,927.50

  Financial & Operational Matters                                             277.3         $225,207.00

  Asset Sales                                                                  41.9          $32,405.00

  General Correspondence with Other Professionals                             159.9         $137,738.00

  Financing Matters (Cash Budget, Exit, Other)                                188.4         $111,300.50

  Firm Retention                                                                1.9           $1,585.00

  Investigations and Litigation Support                                        19.3          $11,935.00

  Claims/Liabilities Subject to Compromise                                     59.1          $50,223.00

  Tax Matters                                                                   2.0           $2,300.00

  Fee Application                                                              59.8          $33,412.50

  Court Attendance/Participation                                                3.6           $2,540.00

  Contracts                                                                     2.7           $2,205.00

  Employee Matters                                                             14.5          $14,035.00

  Insurance Matters                                                             0.8             $920.00
  TOTAL                                                                       989.9         $775,833.50




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                        INTERIM COMPENSATION BY INDIVIDUAL
        Name of Professional   Position of the         Hourly    Total     Total Compensation
              Person             Applicant             Billing   Billed
                                                       Rate      Hours
      Winning, Robert          Managing Director        $1,150    184.7            $212,405.00
      Bauck, Lyle              Managing Director        $1,150    108.3            $124,545.00
      Gallagher, William       Managing Director        $1,150     29.8             $34,212.50
      Boffi, Jonathan          Director                   $945     56.8             $53,676.00
      Lo, Anthony              Vice President             $750    107.6             $80,685.00
      Altman, Matthew          Associate                  $550    422.2            $232,210.00
      Dombrowski, Lauren       Associate                  $550     18.3             $10,065.00
      Edward, David            Analyst                    $450     62.3             $28,035.00
      Grand Total:                                                989.9             $775,833.50




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